                       1:08-cv-01180-JBM-JAG # 124         Page 1 of 6
                                                                                           E-FILED
                                                               Thursday, 01 July, 2010 03:16:06 PM
                                                                     Clerk, U.S. District Court, ILCD
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION

CEDRIC DUPREE, #N63566,                       )
                                              )
              Plaintiff,                      )
                                              )
       vs.                                    )          No. 08-1180
                                              )
LARRY DEATHERAGE, et al.,                     )
                                              )
              Defendants.                     )

                           ANSWER AND AFFIRMATIVE DEFENSES
                           TO PLAINTIFF’S AMENDED COMPLAINT

       NOW COMES Defendant, STEPHEN MOTE, by and through his attorney, Lisa

Madigan, Attorney General of the State of Illinois, hereby submits his Answer and

Affirmative Defenses to Plaintiff’s Amended Complaint as follows:

                                          Answer

       On July 8, 2009, the Court conducted a Merit Review of Plaintiff’s Amended

Complaint [d/e 14]. The Court states that Plaintiff divided his Complaint into numbered

sections. Defendant will now respond to those numbered sections as written by the Court.

       1.     The plaintiff says on March 16, 2006, Officer Knight allowed an inmate out

of his cell for the purpose of assaulting the plaintiff. The inmate “spit an (painful) unknown

substance” into the plaintiff’s eyes. (Comp, p. 8). The officer then refused the plaintiff

medical attention and told him to stop filing grievances and lawsuits against staff at the

correctional center.

       Response: Defendant denies the above allegations of Count 1.




                                             -1-
                       1:08-cv-01180-JBM-JAG # 124            Page 2 of 6



        2.     On June 27, 2006, Officer Duzan allowed an inmate to “stomp” the plaintiff

causing injuries. (Comp., p. 8). The plaintiff claims the officer had previously told the

plaintiff he was going to allow the attack based on the plaintiff’s prior litigation. The plaintiff

says Defendant Mahone denied him medical attention for his injuries.

        Response: Defendant denies the above allegations of Count 2.

        3.     The plaintiff says on January 26, 2006, Defendant Lane “intentionally” walked

me under some stairs while welders were working and allowed me to have sparks fly in my

eyes.” (Comp, p. 8). The plaintiff says the officer told him he needed to stop suing staff.

Nurse Ellinger refused to provide medical attention to the plaintiff due to a previous lawsuit

against her. The plaintiff claims the incident has caused continued eye problems.

        Response: This Count has been partially dismissed by the Court. However, to the

extent it remains a Count, Defendant lacks sufficient knowledge to admit or deny the

allegations.

        4.     On November 11, 2005, the plaintiff says Officer Mottershaw threatened to

do something to the plaintiff’s food. The plaintiff says the officer made good on this promise

on November 13 and 14, 2005, and the plaintiff had to be taken to an outside hospital due

to the pain. The plaintiff again says the defendants threats were based on previous

litigation.

        Response: Defendant denies the above allegations of Count 4.

        5.     On December 27, 2007, the plaintiff says unknown individuals set him up for

another inmate attack, and Defendants Eileer, Beasley and Nurse Terri then refused

medical attention. (Comp, p. 8).

        Response: Defendant denies the above allegations of Count 5.


                                                -2-
                       1:08-cv-01180-JBM-JAG # 124            Page 3 of 6



       6.      The plaintiff says Defendants Deathridge, Quinley, Trainor and Eileers set

up inmate attacks against the plaintiff on February 5, 2007 and May 28, 2008 in retaliation

for previous lawsuits. The plaintiff says he was denied medical attention and warned to

stop filing lawsuits. The plaintiff also says he was placed in segregation even though he

had no disciplinary action pending.

       Response: Defendant denies the above allegations of Count 6.

       7.      Lieutenant Shaw is accused of using excessive force on May 20, 2006 by

“sadistically twisting” the plaintiff’s handcuffs causing pain and bruising. The defendant

told the plaintiff to stop suing him and his staff. The plaintiff then appears to allege that

Defendants Allen and Forbes did the same thing to him on February 6, 2009 based on a

lawsuit he had filed. (Comp.,p. 8). This incident occurred after the plaintiff initially filed his

lawsuit on July 21, 2008. The plaintiff could not have exhausted his administrative

remedies prior to filing the suit.

       Response: This Count has been dismissed.

       8.      The plaintiff says on April 20, 2007, Lieutenant Prentice allowed another

inmate attack in retaliation for previous litigation.

       Response: Defendant denies the above allegations of Count 8.

       9.      The plaintiff says on September 5, 2007, Officer Blackwell used excessive

force when he violently attacked the plaintiff causing injury. Defendant Gish failed to

protect the plaintiff from the assault and Nurse Overfelt refused medical treatment. The

plaintiff says the attack was the result of his previous grievances and lawsuits.

       Response: Defendant denies the above allegations of Count 9.




                                               -3-
                      1:08-cv-01180-JBM-JAG # 124         Page 4 of 6



       10.    On July 1, 2006, the plaintiff says Defendant Duzan dislocated the plaintiffs’

shoulder in retaliation for previous lawsuits.

       Response: Defendant denies the above allegations of Count 10.

       11.    On June 27, 2006, Defendants Gilbert, Brand, Bohm, Todd and Smithson

allowed an inmate to attack the plaintiff. The plaintiff says he was denied medical

treatment by Defendant Todd in an attempt to cover up the assault. The plaintiff alleges

he was again warned to stop his lawsuits. The plaintiff further claims that Dr. Vade refused

him medical treatment.

       Response: Defendant denies the above allegations of Count 11.

       12.    On October 25 in an unspecified year, the plaintiff says Defendants Lewis,

Evans and Sipple entered his cell and beat the plaintiff based on previous lawsuits. Nurse

Joel and Nurse Terry refused to provide medical attention. The plaintiff then makes claims

about being left in a cold room, naked and without food the next day, but names no specific

defendants. (Comp., p. 9)

       Response: Defendant denies the above allegations of Count 12.

       13.    The plaintiff says on “1-5-5 & 11-15-5 till present” Defendants Whitacker,

Troyer, Vilt, Hodge and Libby conspired to cover up the attacks and did nothing to prevent

future attacks. (Comp., p. 9). The plaintiff also says “this includes the Wardens, Director

Eddie Jones, Stephen Mote, Guy Pierce, Roger Walker and Joseph Mathy” but does not

explain any involvement by these defendants. (Comp, p. 9).

       Response: Defendant denies the above allegations of Count 13.

       Defendant denies that he violated Plaintiff’s rights in any way whatsoever. Further,

Defendant denies that Plaintiff is entitled to any relief whatsoever in this case.


                                             -4-
                      1:08-cv-01180-JBM-JAG # 124           Page 5 of 6



                                   Affirmative Defenses

      1.      Plaintiff failed to exhaust his administrative remedies before filing suit, as

required by the Prison Litigation Reform Act.

      2.      Defendant is entitled to qualified immunity.

      3.      Plaintiff’s claim is barred by the statute of limitations.

                                               Respectfully submitted,

                                               STEPHEN MOTE,

                                                    Defendant,

                                               LISA MADIGAN, Attorney General,
                                               State of Illinois

Larry J. Lipka, #6297043                            Attorney for Defendant,
Assistant Attorney General
500 South Second Street
Springfield, Illinois 62706                By: s/ Larry J. Lipka
(217) 782-9026                                LARRY J. LIPKA
                                              Assistant Attorney General
Of Counsel.




                                              -5-
                      1:08-cv-01180-JBM-JAG # 124         Page 6 of 6



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION

CEDRIC DUPREE, #N63566,                      )
                                             )
              Plaintiff,                     )
                                             )
       vs.                                   )          No. 08-1180
                                             )
LARRY DEATHERAGE, et al.,                    )
                                             )
              Defendants.                    )

                              CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2010, I electronically filed Defendant Mote’s Answer
and Affirmative Defenses to Plaintiff’s Amended Complaint with the Clerk of the Court
using the CM/ECF system which will send notification of such filing(s) to the following:

       None

and I hereby certify that on July 1, 2010, I mailed by United States Postal Service, the
document(s) to the following non-registered participant(s):

       Cedric Dupree, #N63566
       Pontiac Correctional Center
       700 W. Lincoln Street
       Post Office Box 99
       Pontiac, Illinois 61764



                                                 Respectfully Submitted,
                                                  s/ Larry J. Lipka
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                                                 Assistant Attorney General
                                                 Attorney for Defendants
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